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 6 Attorneys for Plaintiff

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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                              CASE NO. 1:13-cr-00087 AWI BAM
12                                 Plaintiff,               AMENDED STIPULATION
                                                            REGARDING EXCLUDABLE TIME
13   v.                                                     PERIODS UNDER SPEEDY TRIAL
                                                            ACT; FINDINGS AND ORDER
14   VICTOR BARRAJAS ARRIOLA, and
     JESSE ISRAEL ALARCON,
15
                                   Defendants,
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17
            Plaintiff United States of America, by and through its counsel of record, and defendants, by
18
     and through their counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on June 24, 2013 at 1:00 p.m.
20
            2.      By this stipulation, the parties now move to continue the status conference until July
21
     22, 2013 at 1:00 p.m. and to exclude time between June 24, 3013 and July 22, 2013 under 18
22
     U.S.C.§ 3161(h)(7)(A), B(iv). The parties will meet and confer regarding discovery disputes and
23
     report to the court on or before July 19, 2013. Plaintiff does not oppose this request.
24
            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a.       Initial discovery consisting of 125 pages as well as a supplemental discovery
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            consisting of a CD has been provided.
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 1                 b.      Additional discovery is being prepared for distribution that contains some of

 2          the matter that is the subject of the Motion for Discovery. Additional time is needed to

 3          gather additional discovery and determine if discovery disputes exist.

 4                 c.      Counsel for defendant Arriola is set to commence a jury trial in state court on

 5          June 20, 2013 and anticipates being unavailable for the status conference if the matter

 6          proceeds as anticipated.

 7                 d.      Counsel for defendants need additional time for investigation and preparation.

 8          Counsel for defendants believe that failure to grant the above-requested continuance would

 9          deny him the reasonable time necessary for effective preparation and resolution, taking into

10          account the exercise of due diligence.

11                 e.      The government does not object to the continuance.

12                 f.      Based on the above-stated findings, the ends of justice served by continuing

13          the case as requested outweigh the interest of the public and the defendant in a trial within

14          the original date prescribed by the Speedy Trial Act.

15                 g.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

16          3161, et seq., within which trial must commence, the time period of June 24, 2013 to July 22,

17          2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it

18          results from a continuance granted by the Court at defendant’s request on the basis of the

19          Court's finding that the ends of justice served by taking such action outweigh the best interest

20          of the public and the defendants interest in a speedy trial.

21          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of

22 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

23 a trial must commence.

24          IT IS SO STIPULATED.

25 DATED: June 20, 2013                            /s/ Laurel J. Montoya
                                                   LAUREL J. MONTOYA
26                                                 Assistant United States Attorney
27 DATED: June 20, 2013                            /s/ James Homola
                                                   JAMES HOMOLA
28                                                 Attorney for Defendant Arriola
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 1 DATED: June 20, 2013                                   /s/ Katherine Hart
                                                          KATHERINE HART
 2                                                        Attorney for Defendant Alarcon
 3
                                                          ORDER
 4

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 7 IT IS SO ORDERED.

 8
                           Dated:   June 20, 2013                   /s/ Barbara A. McAuliffe     _
 9                                                            UNITED STATES MAGISTRATE JUDGE
     DEAC_Signature-END:




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